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                           UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH DAKOTA

                                     CENTRAL DIVISION



    UNITED STATES OF AMERICA,                                3:21-CR-30080-RAL

                        Plaintiff,

                                                    ORDER ON PRO SE MOTION FOR
           vs.                                               RELEASE

    LEE MOLICA,

                        Defendant.




          Defendant, Lee Molica, has filed a pro se motion for pre-trial release.1 In his

motion, he seeks reconsideration of the Court’s detention order and asks to be released

on a personal recognizance basis. 2 Although the Court understands Molica’s desire to get

out of jail and return to California, he is represented by very capable counsel, who has

already zealously advocated for the same type of release as that requested. The Court

thus declines to consider the motion. 3




1   Docket No. 17.

2
    Id. at 2-3.

3
  See United States v. Tollefson, 853 F.3d 481, 485 (8th Cir. 2017) (“A district court is not
required to entertain pro se motions filed by a represented party.” (Cleaned up and
citation omitted)); United States v. Blum, 65 F.3d 1436, 1443 n.2 (8th Cir. 1995) (“Generally
it is Eighth Circuit policy to refuse to consider pro se filings when a party is represented
by counsel.”).
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     DATED this 9th day of December, 2021.

                                    BY THE COURT:




                                    MARK A. MORENO
                                    UNITED STATES MAGISTRATE JUDGE
